                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 FRIENDS OF GEORGE’S, INC.,
                         Plaintiff,


                 v.                                       Case No. 2:23-cv-02163-TLP-tmp

 STEVEN J. MULROY,
      in his official capacity as District
      Attorney General of Shelby County,
      TN,

                         Defendant.




                         NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Steven J. Mulroy, in his official capacity, respectfully submits this Notice of

Supplemental Authority to advise the Court of the decision in L.W. v. Skrmetti, No. 23-5600, 2023

WL 4410576, ___ F.4th ___ (6th Cir. July 8, 2023) (copy attached) so that this Court may consider

L.W. in conjunction with Defendant’s argument that “the Court should defer its consideration of

Plaintiff’s motion for an award of attorney’s fees and costs until the conclusion of Defendant’s

appeal.” ECF No. 97 at 1536–38.1

       The Tennessee law at issue in L.W. prohibits healthcare providers from administering

certain medical treatments to minors “‘for the purpose of ’ either” altering the minor’s sex

characteristics or “‘[t]reating . . . discordance between the minor’s sex and asserted identity.’” Id.

at *1 (quoting Tenn. Code Ann. § 68-33-103(a)(1)). Three transgender minors, their parents, and


       1
           Pincites to record materials reference the “Page ID” numbers in the ECF file stamps.



                                                      1
a doctor brought a facial constitutional challenge alleging that this law violated the Fourteenth

Amendment’s Equal Protection Clause and Due Process Clause. Id. at *2. A district court

preliminarily enjoined that law. And because “its preliminary injunction [rested] on a facial

invalidation of the Act, as opposed to an as-applied invalidation of the Act,” the district court

extended its injunction beyond the parties to the suit. Id.

       The Sixth Circuit has now stayed that injunction pending appeal and, as relevant here,

rejected the extended scope of injunctive relief. L.W. makes clear that “[d]istrict courts ‘should

not issue relief that extends further than necessary to remedy the plaintiff’s injury,’” even in cases

that raise facial challenges. Id. at *3 (quoting Commonwealth v. Biden, 57 F.4th 545, 556 (6th Cir.

2023)). Instead, courts “must operate in a party-specific and injury-focused manner.” Id. at *3

(emphasis added). “A court order that goes beyond the injuries of a particular plaintiff to enjoin

government action against nonparties exceeds the norms of judicial power.” Id. (emphasis added).

       This Court limited its injunctive relief to D.A. Mulroy and Shelby County, but rejected

Defendant’s argument that the injunction “should also be limited to the parties before this Court”—

i.e., Friends of George’s. ECF 82 at 1302. L.W. indicates that, even if the Sixth Circuit affirms

on the merits in this case, it may further limit the scope of any injunctive relief provided in this

litigation—thereby modifying any potential fees calculus.

       Defendant therefore respectfully requests that this Court consider L.W. as further support

for his argument that the Court should defer its consideration of Plaintiff’s fees motion. ECF No.

97 at 1536–38.




                                                      2
Respectfully submitted,

JONATHAN SKRMETTI
 Attorney General & Reporter

s/James R. Newsom III
James R. Newsom III (TN BPR No. 6683)
 Special Counsel
J. Matthew Rice (TN BPR No. 40032)
 Associate Solicitor General
Robert W. Wilson (TN BPR No. 34492)
 Senior Assistant Attorney General
Steven J. Griffin (TN BPR No. 40708)
 Assistant Attorney General

Office of the Tennessee Attorney General
40 South Main Street, Suite 1014
Memphis, TN 38103
(901) 543-2473
Jim.Newsom@ag.tn.gov
Matt.Rice@ag.tn.gov
Robert.Wilson@ag.tn.gov
Steven.Griffin@ag.tn.gov

Counsel for Steven J. Mulroy, in his official
capacity as District Attorney General for the
Thirtieth Judicial District of Tennessee




3
                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2023, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing report. Parties may access this filing through the Court’s
electronic filing system.



                                                      s/James R. Newsom III
                                                      James R. Newsom III
                                                      Special Counsel
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)




                                                                   ATTORNEY GENERAL, Montgomery, Alabama, for
                2023 WL 4410576                                    Amici Curiae.
  Only the Westlaw citation is currently available.
   United States Court of Appeals, Sixth Circuit.                  Before: SUTTON, Chief Judge; WHITE and THAPAR,
                                                                   Circuit Judges.
  L. W., BY AND THROUGH her parents and next
      friends, Samantha WILLIAMS and Brian
   Williams; Samantha Williams; Brian Williams;
   John Doe, by and through his parents and next
    friends, Jane Doe and James Doe; Jane Doe;
    James Doe; Rebecca Roe; Susan N. Lacy, on
  behalf of herself and her patients; Ryan Roe, by                 SUTTON, C.J., delivered the opinion of the court in
  and through his parent and next friend, Rebecca                  which THAPAR, J., joined. WHITE, J. (pp. –––– – ––––),
              Roe, Plaintiffs-Appellees,                           delivered a separate opinion concurring in part and
                           v.                                      dissenting in part.
    Jonathan Thomas SKRMETTI, in his official
  capacity as the Tennessee Attorney General and
       Reporter, et al., Defendants-Appellants,
   United States of America, Intervenor-Appellee.
                                                                                          OPINION
                     No. 23-5600
                           |
            Decided and Filed: July 8, 2023                        SUTTON, Chief Judge.

                                                                   *1 Tennessee enacted a law that prohibits healthcare
On Emergency Motion for Stay of Preliminary Injunction             providers from performing gender-affirming surgeries and
Pending Appeal United States District Court for the                administering hormones or puberty blockers to
Middle District of Tennessee at Nashville. No.                     transgender minors. After determining that the law likely
3:23-cv-00376—Eli J. Richardson, District Judge.                   violated the Equal Protection and Due Process Clauses,
                                                                   the district court facially enjoined the law’s enforcement
Attorneys and Law Firms
                                                                   as to hormones and puberty blockers and applied the
ON EMERGENCY MOTION FOR STAY OF                                    injunction to all people in the State. Tennessee appealed
PRELIMINARY INJUNCTION PENDING APPEAL and                          and moved for an emergency stay of the district court’s
REPLY: Clark L. Hildabrand, Steven J. Griffin, Brooke              order. Because Tennessee is likely to succeed on its
A. Huppenthal, OFFICE OF THE TENNESSEE                             appeal of the preliminary injunction, we grant the stay.
ATTORNEY GENERAL & REPORTER, Nashville,
Tennessee, Adam K. Mortara, LAWFAIR LLC,
Nashville, Tennessee, Cameron T. Norris, Tiffany H.
Bates, CONSOVOY MCCARTHY PLLC, Arlington,                                                      I.
Virginia, for Appellants. ON RESPONSE: Joshua A.
Block, Chase Strangio, AMERICAN CIVIL LIBERTIES                    In March 2023, Tennessee enacted the Prohibition on
UNION FOUNDATION, New York, New York, Stella                       Medical Procedures Performed on Minors Related to
Yarbrough,     Lucas      Cameron-Vaughn,      ACLU
                                                                   Sexual Identity.    Tenn. Code Ann. § 68-33-101. It was
FOUNDATION OF TENNESSEE, Nashville, Tennessee,
                                                                   scheduled to go into effect on July 1, 2023. Seeking to
Sruti J. Swaminathan, LAMBDA LEGAL DEFENSE
                                                                   “protect[ ] minors from physical and emotional harm,”
AND EDUCATION FUND, INC., New York, New York,
Tara Borelli, LAMBDA LEGAL DEFENSE AND                                id. § 68-33-101(m), the legislature identified several
EDUCATION FUND, INC., Decatur, Georgia,                            concerns about recent treatments being offered by the
Christopher J. Gessner, AKIN GUMP STRAUSS                          medical profession for children with gender dysphoria. It
HAUER & FELD LLP, Washington, D.C., for Appellees.                 was concerned that some treatments for gender dysphoria
ON AMICUS BRIEF: Jonathan F. Mitchell, MITCHELL                    “can lead to the minor becoming irreversibly sterile,
LAW PLLC, Austin, Texas, Edmund G. LaCour, Jr., A.                 having increased risk of disease and illness, or suffering
Barrett Bowdre, OFFICE OF THE ALABAMA                              adverse     and     sometimes      fatal    psychological

               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                        1
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



consequences.”      Id. § 68-33-101(b). It was concerned           hormones and puberty blockers. As to due process, the
that the long-term costs of these treatments remain                court found that the Act infringes the parents’
unknown and outweigh any near-term benefits because                “fundamental right to direct the medical care of their
they are “experimental in nature and not supported by              children.” R.167 at 14. As to equal protection, the court
high-quality, long-term medical studies.” Id. And it noted         reasoned (1) that the Act improperly discriminates on the
that other helpful, less risky, and non-irreversible               basis of sex and (2) that transgender persons constitute a
                                                                   quasi-suspect class and that the State could not satisfy the
treatments remain available.    Id. § 68-33-101(c).                necessary justifications that come with this designation.
                                                                   The district court concluded that the Act was facially
These findings convinced the legislature to ban certain            unconstitutional (with the exception of the surgery and
medical treatments for minors with gender dysphoria. A             private enforcement provisions), and it issued a statewide
healthcare provider may not “administer or offer to                injunction against its enforcement. Tennessee appealed. It
administer” “a medical procedure” to a minor “for the              unsuccessfully sought a stay in the district court and
purpose of” either “[e]nabling a minor to identify with, or        moves for a stay here.
live as, a purported identity inconsistent with the minor’s
sex,” or “[t]reating purported discomfort or distress from
a discordance between the minor’s sex and asserted
identity.” Id. § 68-33-103(a)(1). Prohibited medical
procedures include “[s]urgically removing, modifying,                                            II.
altering, or entering into tissues, cavities, or organs” and
“[p]rescribing, administering, or dispensing any puberty           A request for a stay pending appeal prompts four
blocker or hormone.” Id. § 68-33-102(5).                           questions: “Is the applicant likely to succeed on the
                                                                   merits? Will the applicant be irreparably injured absent a
The Act contains two relevant exceptions. It permits the           stay? Will a stay injure the other parties? Does the public
use of these medical procedures to treat congenital                interest favor a stay?”    Roberts v. Neace, 958 F.3d 409,
defects, precocious puberty, disease, or physical injury.          413 (6th Cir. 2020). As is often the case in a
Id. § 68-33-103(b)(1)(A). And it has a “continuing care”           constitutional challenge, the likelihood-of-success inquiry
exception until March 31, 2024, which permits healthcare
providers to continue administering a long-term                    is the first among equals.     Id. at 416. In this instance, it
treatment, say hormone therapy, that began before the              is largely dispositive. While we assess “the district court’s
Act’s effective date. Id. § 68-33-103(b)(1)(B).                    ultimate decision whether to grant a preliminary
                                                                   injunction for abuse of discretion,” we assess “its legal
The Act authorizes the Tennessee Attorney General to               determination, including the likelihood of success on the
enforce these prohibitions. Id. § 68-33-106(b). It permits         merits, with fresh eyes.”       Arizona v. Biden, 40 F.4th
the relevant state regulatory authorities to impose                375, 381 (2022) (quotation omitted).
“professional discipline” on healthcare providers that
violate the Act. R.1 ¶ 56; Tenn. Code Ann. § 68-33-107.            There are two merits-related problems with the district
And it creates a private right of action, enabling an              court’s order. One relates to its scope. The other relates to
injured minor or nonconsenting parent to sue a healthcare          its assessment of plaintiffs’ chances in challenging the
provider for violating the law. Tenn. Code Ann. §                  Act on due process and equal protection grounds.
68-33-105(a)(1)–(2).

*2 Three transgender minors, their parents, and a doctor
sued several state officials, claiming the Act violated the
United States Constitution’s guarantees of due process                                           A.
and equal protection. The plaintiffs challenged the Act’s
                                                                   Scope. The district court rested its preliminary injunction
prohibitions on hormone therapy and its surgery
                                                                   on a facial invalidation of the Act, as opposed to an
prohibitions, but they did not challenge its private right of
                                                                   as-applied invalidation of the Act, and it assumed
action. They moved for a preliminary injunction to
                                                                   authority to issue a statewide injunction. We doubt each
prevent those features of the Act from going into effect on
                                                                   premise.
July 1, 2023.
                                                                   The challengers claim that Tennessee’s law facially
On June 28, the district court granted the motion in part. It
                                                                   violates the Constitution. But litigants raising “a facial
concluded that the challengers lacked standing to contest
                                                                   challenge to a statute normally ‘must establish that no set
the ban on surgeries but could challenge the ban on

                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                            2
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



of circumstances exists under which the [statute] would            order that goes beyond the injuries of a particular plaintiff
be valid.’ ” United States v. Hansen, 2023 WL 4138994,             to enjoin government action against nonparties exceeds
at *5 (U.S. June 23, 2023) (quoting        United States v.        the norms of judicial power.
Salerno, 481 U.S. 739, 745 (1987)). That’s a “strict
standard” that we have no authority to “dilute[ ].”                Even if courts may in some instances wield such power,
                                                                   the district court likely abused its discretion by deploying
    Dobbs v. Jackson Women’s Health Org., 142 S. Ct.               it here. See, e.g., Biden, 57 F.4th at 557; see also
2228, 2275 (2022). The district court questioned whether
the test applied and declined to engage with Tennessee’s               United States v. Texas, 2023 WL 4139000, at *17
arguments that it could lawfully apply the Act in some             (U.S. June 23, 2023) (Gorsuch, J., concurring)
settings. But it is not for lower-court judges to depart           (considering the systemic harms of overbroad injunctions
from Salerno, meaning that plaintiffs must show no set of          as part of the abuse-of-discretion review). In particular, it
valid applications of a law before we may declare it               did not offer any meaningful reason for granting such
                                                                   relief, creating considerable doubt about the survival of
invalid in all of its applications.    Rodriguez de Quijas         this overriding feature of the decision on appeal.
v. Shearson/Am. Exp., Inc., 490 U.S. 477, 484 (1989)
(noting that the Supreme Court alone exercises “the
prerogative of overruling” its decisions). Consistent with
the point, we have many cases adhering to the Salerno
test. See, e.g., Oklahoma v. United States, 62 F.4th 221,                                       B.
231 (6th Cir. 2023);      United States v. Fields, 53 F.4th
                                                                   The challengers also are unlikely to prevail on their due
1027, 1038 (6th Cir. 2022);         Green Party of Tenn. v.        process and equal protection claims. Start with several
Hargett, 700 F.3d 816, 826 (6th Cir. 2012);                        considerations that apply to both claims. First, the
       Warshak v. United States, 532 F.3d 521, 529 (6th            challengers do not argue that the original fixed meaning
Cir. 2008) (en banc);       Aronson v. City of Akron, 116          of either the due process or equal protection guarantee
F.3d 804, 809 (6th Cir. 1997).                                     covers these claims. That prompts the question whether
                                                                   the people of this country ever agreed to remove debates
*3 Turn to the nature of the injunction. District courts           of this sort—about the use of new drug treatments on
“should not issue relief that extends further than necessary       minors—from the conventional place for dealing with
to remedy the plaintiff’s injury.” Commonwealth v. Biden,          new norms, new drugs, and new technologies: the
57 F.4th 545, 556 (6th Cir. 2023). The court’s injunction          democratic process. Life-tenured federal judges should be
prohibits Tennessee from enforcing the law against the             wary of removing a vexing and novel topic of medical
nine challengers in this case and against the other seven          debate from the ebbs and flows of democracy by
million residents of the Volunteer State. But absent a             construing a largely unamendable federal constitution to
properly certified class action, why would nine residents          occupy the field.
represent seven million? Does the nature of the federal
judicial power or for that matter Article III permit such          Second, while the challengers do invoke constitutional
sweeping relief? A “rising chorus” suggests not. Doster v.         precedents of the Supreme Court and our Court in
Kendall, 54 F.4th 398, 439 (6th Cir. 2022); see, e.g.,             bringing this lawsuit, not one of them resolves these
                                                                   claims. In each instance, they seek to extend the
    Trump v. Hawaii, 138 S. Ct. 2392, 2424–29 (2018)
                                                                   constitutional guarantees to new territory. There is
(Thomas, J., concurring);       Dep’t of Homeland Sec. v.          nothing wrong with that, to be sure. But it does suggest
New York, 140 S. Ct. 599, 599–601 (2020) (Gorsuch, J.,             that    the     key    premise    of    a     preliminary
concurring); see also Samuel Bray, Multiple Chancellors:           injunction—likelihood of success on the merits—is
Reforming the National Injunction, 131 Harv. L. Rev.               missing. The burden of establishing an imperative for
417, 457–82 (2017).                                                constitutionalizing new areas of American life is
                                                                   not—and should not be—a light one, particularly when
Article III confines the “judicial power” to “Cases” and           “the States are currently engaged in serious, thoughtful”
“Controversies.” U.S. Const. art. III, § 2. Federal courts
                                                                   debates about the issue.     Washington v. Glucksberg,
may not issue advisory opinions or address statutes “in
                                                                   521 U.S. 702, 719 (1997).
the abstract.”     California v. Texas, 141 S. Ct. 2104,
2115 (2021) (quotation omitted). They instead must                 Third, the States are indeed engaged on these issues, as
operate in a party-specific and injury-focused manner. Id.;        the recent proliferation of legislative activity across the
   Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018). A court         country shows. Compare         Ga. Code Ann. § 31-7-35

                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          3
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



(banning gender-affirming treatments for minors) and               treacherous field.”   Moore v. City of E. Cleveland, 431
Idaho Code § 18-1506C (similar), with Cal. Penal Code §            U.S. 494, 502 (1977). Increasingly appreciative of that
819 (prohibiting cooperation with other states as to               danger, the federal courts have become ever more
gender-affirming care provided to out-of-state minors in           “reluctant to expand the concept of substantive due
California), Colo. Rev. Stat. § 12-30-121(1)(d)
(designating gender-affirming care as “legally protected           process” to new areas.       Collins v. City of Harker
health-care activity”), and Minn. Stat. § 260.925 (refusing        Heights, 503 U.S. 115, 125 (1992).
to enforce out-of-state laws that would limit a parent’s
custody rights for consenting to gender-affirming care).           Parents, it is true, have a substantive due process right “to
                                                                   make decisions concerning the care, custody, and control
See also       Ala. Code § 16-1-52 (restricting sports
participation by transgender students); Wyo. Stat. Ann. §          of their children.”     Troxel v. Granville, 530 U.S. 57, 66
21-25-102 (similar); Mont. Code Ann. § 40-6-7X1(1)(f)              (2000). But the Supreme Court cases recognizing this
(requiring parental consent for changes in a child’s               right confine it to narrow fields, such as education,
pronouns). Leaving the preliminary injunction in place                  Meyer v. Nebraska, 262 U.S. 390 (1923), and
starts to grind these all-over-the-map gears to a halt.            visitation rights,      Troxel, 530 U.S. 57. No Supreme
    Glucksberg, 521 U.S. at 720. Given the high stakes of          Court case extends it to a general right to receive new
these nascent policy deliberations—the long-term health            medical or experimental drug treatments. In view of the
of children facing gender dysphoria—sound government               high stakes of constitutionalizing areas of public policy,
usually benefits from more rather than less debate, more           any such right must be defined with care. Glucksberg, 521
rather than less input, more rather than less consideration        U.S. at 721 (requiring “a ‘careful description’ of the
of fair-minded policy approaches. To permit legislatures           asserted fundamental liberty interest” (quotation
on one side of the debate to have their say while silencing        omitted)). The challengers have not shown that a right to
legislatures on the other side of the debate under the U.S.        new medical treatments is “deeply rooted in our history
Constitution does not further these goals.                         and traditions” and thus beyond the democratic process to
                                                                   regulate. Id. at 727.
*4 That many members of the medical community
support the plaintiffs is surely relevant. But it is not           Constitutionalizing new parental rights in the context of
dispositive for the same reason we would not defer to a            new medical treatments is no mean task. On the one side
consensus among economists about the proper incentives             of the ledger, parents generally can be expected to know
for interpreting the impairment-of-contracts or takings            what is best for their children. On the other side of the
clauses of the U.S. Constitution. At all events, the medical       ledger, state governments have an abiding interest in
and regulatory authorities are not of one mind about using         “preserving the welfare of children,”     Kanuszewski v.
hormone therapy to treat gender dysphoria. Else, the FDA           Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396, 419
would by now have approved the use of these drugs for
                                                                   (6th Cir. 2019);     Dobbs, 142 S. Ct. at 2284, and “in
these purposes. That has not happened, however, giving
                                                                   protecting the integrity and ethics of the medical
us considerable pause about constitutionalizing an answer
                                                                   profession,” Glucksberg, 521 U.S. at 731. These interests
they have not given or, best we can tell, even finally
                                                                   give States broad power, even broad power to “limit[ ]
studied.
                                                                   parental freedom,”     Prince v. Massachusetts, 321 U.S.
Due process. The challengers argue that the Act violates           158, 167 (1944); see       Parham v. J. R., 442 U.S. 584,
their due process right to control the medical care of their       606 (1979), particularly in an area of new medical
children. “No State,” the Fourteenth Amendment says,               treatment. We doubt, for example, that there are many
shall “deprive any person of life, liberty, or property,           drug-regulatory agencies in the world that, without
without due process of law.” The provision over time has           satisfactory long-term testing, would delegate to parents
come to secure more than just procedural rights. It also           and a doctor exclusive authority to decide whether to
includes substantive protections “against government               permit a potentially irreversible new drug treatment.
interference with certain fundamental rights and liberty
interests.”     Glucksberg, 521 U.S. at 720. Courts                *5 More generally, state legislatures play a critical role in
identify such rights by looking for norms that are                 regulating health and welfare, and their efforts are usually
“fundamental” or are “deeply rooted in this Nation’s               “entitled to a ‘strong presumption of validity.’ ”
history and tradition.” Id. at 720–21 (quotation omitted);             Dobbs, 142 S. Ct. at 2284 (quotation omitted);
   Timbs v. Indiana, 139 S. Ct. 682, 689 (2019) (same).            Planned Parenthood Cincinnati Region v. Taft, 444 F.3d
Experience has shown that substantive due process is “a            502, 505 (6th Cir. 2006). As a result, federal courts must
                                                                   be vigilant not to “substitute” their views for those of
                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          4
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



legislatures,   Dobbs, 142 S. Ct. at 2284, a caution that          Human Services does not alter this conclusion.        927
is particularly apt when construing unenumerated                   F.3d 396. A Michigan health program collected blood
guarantees, see   Collins, 503 U.S. at 125.                        samples from newborns and stored the samples for future
                                                                   use.    Id. at 403–04. This compulsory storage program,
Judicial deference is especially appropriate where                 we held, violated nonconsenting parents’ rights “to make
“medical and scientific uncertainty” exists.       Gonzales        decisions concerning the medical care of their children.”
v. Carhart, 550 U.S. 124, 163 (2007); see also                        Id. at 418. This case differs from that one in at least
   Marshall v. United States, 414 U.S. 417, 427 (1974);            two material ways. Unlike the Michigan program, the
Collins v. Texas, 223 U.S. 288, 297–98 (1912). In this             Tennessee Act rests on the legislative judgment that it
respect, consider the work of the Food and Drug                    will protect “the health of the child.”    Id. at 421; see
Administration. Under a highly reticulated process that                Tenn. Code Ann. § 68-33-101(a), (b);        Parham, 442
requires considerable long-range testing, the FDA                  U.S. at 603 (noting that States retain authority,
determines when new drugs are safe for public use,                 notwithstanding parental rights, to protect children’s
including use by minors, and when new drugs are safe for           health). And the Michigan program compelled medical
certain purposes but not others. In making these decisions         care, while the Tennessee Act law prohibits certain
and in occasionally frustrating those who would like to            medical care. Although individuals sometimes have a
have access to new drugs sooner, the Constitution rarely           constitutional right to refuse treatment, the Supreme Court
has a say over the FDA’s work. There is no constitutional          has not handled affirmative requests for treatment in the
right to use a new drug that the FDA has determined is             same way. See Glucksberg, 521 U.S. at 725–26. Most
unsafe or ineffective.    Abigail All. for Better Access to        circuits have drawn the same line, “reject[ing] arguments
Developmental Drugs v. von Eschenbach, 495 F.3d 695,               that the Constitution provides an affirmative right of
703 (D.C. Cir. 2007). And that is true even if the FDA             access to particular medical treatments reasonably
bars access to an experimental drug that a doctor believes         prohibited by the Government.”        Eschenbach, 495 F.3d
might save a terminally ill patient’s life. Invoking our           at 710 & n.18 (collecting cases).
nation’s long history of regulating drugs and medical
treatments, the D.C. Circuit correctly held that the
                                                                   *6 Glucksberg illuminates the point.          521 U.S. 702.
Constitution does not take over this field.      Id. at 711;       Harold Glucksberg claimed that Washington State’s ban
see also    id. at 710 & n.18 (collecting similar cases).          on physician-assisted suicide violated his patients’ due
                                                                   process rights.     Id. at 708. The Court held that the
Today’s case has many parallels to that one.                       Constitution did not bestow an affirmative right to
Gender-affirming         procedures       often      employ
FDA-approved drugs for non-approved, “off label” uses.             physician assistance in committing suicide.            Id. at
Tennessee decided that such off-label use in this area             725–26. The State could prohibit individuals from
                                                                   receiving care they wanted and their physicians wished to
presents unacceptable dangers.         Tenn. Code Ann. §           provide, all despite the “personal and profound” liberty
68-33-101(b), (e), (g). Many medical professionals and
many medical organizations may disagree. But the                   interests at stake.    Id. at 725. As in that case, so in this
Constitution does not require Tennessee to view these              one, indeed more so in this one. There’s little reason to
treatments the same way as the majority of experts or to           think that a parent’s right to make decisions for a child
allow drugs for all uses simply because the FDA has                sweeps more broadly than an adult’s right to make
approved them for some. Cf. Taft, 444 F.3d at 505                  decisions for herself. Cf.     Whalen v. Roe, 429 U.S. 589,
(explaining off-label use is legal “[a]bsent state                 604 (1977);        Prince, 321 U.S. at 166. All told, the
regulation”);     Gonzales v. Raich, 545 U.S. 1, 27–28             plaintiffs’ efforts to expand our substantive due process
(2005) (explaining that Congress may prohibit marijuana            precedents to this new area are unlikely to succeed.
use even when doctors approve its use for medical
purposes). It is well within a State’s police power to ban         Equal protection. “No state,” the Fourteenth Amendment
off-label uses of certain drugs. At the same time, it is           says, “shall ... deny to any person within its jurisdiction
difficult to maintain that the medical community is of one         the equal protection of the laws.” Statutory classifications
mind about the use of hormone therapy for gender                   are ordinarily valid if they are rationally related to and
dysphoria when the FDA is not prepared to put its                  further a legitimate state interest.   San Antonio Indep.
credibility and careful testing protocols behind the use.          Sch. Dist. v. Rodriguez, 411 U.S. 1, 55 (1973). More
                                                                   exacting scrutiny applies when a law implicates protected
Kanuszewski v. Michigan Department of Health and
                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                           5
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



classes. See      Reed v. Reed, 404 U.S. 71, 76 (1971);            quasi-suspect class. But neither the Supreme Court nor
                                                                   this court has recognized transgender status as a
   United States v. Virginia, 518 U.S. 515, 533 (1996).            quasi-suspect class. Until that changes, rational basis
                                                                   review applies to transgender-based classifications. In the
It’s highly unlikely, as an initial matter, that the plaintiffs    context of a preliminary injunction and the need to
could show that the Act lacks a rational basis. The State          establish a likelihood of success on the merits, that should
plainly has authority, in truth a responsibility, to look          be nearly dispositive given the requirement of showing a
after the health and safety of its children. In this area of
unfolding medical and policy debate, a State has more              “clear” right to relief.   Mazurek v. Armstrong, 520 U.S.
rather than fewer options. Tennessee could rationally take         968, 972 (1997) (emphasis omitted); see   Winter v.
the side of caution before permitting irreversible medical         NRDC, 555 U.S. 7, 22 (2008); Whole Woman’s Health v.
treatments of its children.                                        Jackson, 141 S. Ct. 2494, 2495 (2021).

The challengers pin their main claims for likelihood of            *7 The bar for recognizing a new quasi-suspect class,
success on the assumption that heightened scrutiny                 moreover, is a high one. The Supreme Court has
applies. They first argue that the Tennessee Act                   recognized just two such classes,        City of Cleburne v.
discriminates on the basis of sex and thus requires the            Cleburne Living Ctr., 473 U.S. 432, 441 (1985) (gender
State to satisfy intermediate scrutiny. We are skeptical.          and illegitimacy), and none in recent years. The Court
                                                                   “has not recognized any new constitutionally protected
The Act bans gender-affirming care for minors of both              classes in over four decades, and instead has repeatedly
sexes. The ban thus applies to all minors, regardless of           declined to do so.” Ondo v. City of Cleveland, 795 F.3d
their biological birth with male or female sex organs. That
prohibition does not prefer one sex to the detriment of the        597, 609 (6th Cir. 2015);       Cleburne, 473 U.S. at 442
                                                                   (holding that mental disability is not a quasi-suspect
other. See     Reed, 404 U.S. at 76. The Act mentions the
word “sex,” true. But how could it not? That is the point          class);    Mass. Bd. of Ret. v. Murgia, 427 U.S. 307, 313
of the existing hormone treatments—to help a minor                 (1976) (per curiam) (holding that age is not a
transition from one gender to another. That also explains          quasi-suspect class); see      Obergefell v. Hodges, 576
why it bans procedures that administer cross-sex                   U.S. 644 (2015) (declining to address whether gay
hormones but not those that administer naturally                   individuals qualify as a suspect class).
occurring hormones.              Tenn. Code Ann. §
68-33-103(b)(1)(A). A cisgender girl cannot transition             That hesitancy makes sense here. Gender identity and
through use of estrogen; only testosterone will do that. A         gender dysphoria pose vexing line-drawing dilemmas for
cisgender boy cannot transition through use of                     legislatures. Plenty of challenges spring to mind. Surgical
testosterone; only estrogen will do that. The reality that         changes versus hormone treatment. Drugs versus
the drugs’ effects correspond to sex in these                      counseling. One drug versus another. One age cutoff for
understandable ways and that Tennessee regulates them              minors versus another. Still more complex, what about
                                                                   sports, access to bathrooms, definitions of disability? And
does not require skeptical scrutiny.      Dobbs, 142 S. Ct.        will we constitutionalize the FDA approval rules in the
at 2245–46; see       Geduldig v. Aiello, 417 U.S. 484, 496        process? Even when accompanied by judicial tiers of
n.20 (1974); see also       Reed, 404 U.S. at 76. “The             scrutiny, the U.S. Constitution does not offer a principled
regulation of a medical procedure that only one sex can            way to judge each of these lines—and still others to boot.
undergo does not trigger heightened constitutional                 All that would happen is that we would remove these
scrutiny unless the regulation is a ‘mere pretex[t]                trying policy choices from fifty state legislatures to one
designed to effect an invidious discrimination against the         Supreme Court. Instead of the vigorous, sometimes
                                                                   frustrating, “arena of public debate and legislative action”
members of one sex or the other.’ ”     Dobbs, 142 S. Ct.          across the country and instead of other options provided
at 2245–46 (quoting      Geduldig, 417 U.S. at 496 n.20).          by fifty governors and fifty state courts, we would look to
No such pretext has been shown here. If a law restricting          one judiciary to sort it all out.   Glucksberg, 521 U.S. at
a medical procedure that applies only to women does not            720. That is not how a constitutional democracy is
trigger heightened scrutiny, as in Dobbs, a law equally            supposed to work—or at least works best—when
applicable to all minors, no matter their sex at birth, does       confronting evolving social norms and innovative medical
not require such scrutiny either.                                  options.
The plaintiffs separately claim that the Act amounts to
transgender-based discrimination, violating the rights of a           Bostock v. Clayton County does not change the

                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                         6
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



analysis. 140 S. Ct. 1731 (2020). Title VII’s prohibition          addressed similar laws in other States and assessed those
on employment discrimination “because of ... sex”                  laws in much the same way as the district court did in this
encompasses discrimination against persons who are gay             case. See Brandt v. Rutledge, 2023 WL 4073727 (E.D.
or transgender, the Court concluded.        Id. at 1743;           Ark. June 20, 2023); K.C. v. Individual Members of Med.
                                                                   Licensing Bd. of Ind., 2023 WL 4054086 (S.D. Ind. June
   42 U.S.C. § 2000e-2(a)(1). But that reasoning applies
only to Title VII, as Bostock itself and our subsequent            16, 2023);      Doe v. Ladapo, 2023 WL 3833848 (N.D.
                                                                   Fla. June 6, 2023); Eknes-Tucker v. Marshall, 603 F.
cases make clear.       Bostock, 140 S. Ct. at 1753;               Supp. 3d 1131 (M.D. Ala. 2022). And our thoughtful
   Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th              colleague has reached a similar conclusion. We appreciate
Cir. 2021) (refusing to apply Bostock to the Age                   their perspectives, and they give us pause. But they do not
Discrimination in Employment Act);            Meriwether v.        eliminate our doubts about the ultimate strength of the
Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021) (reasoning           challengers’ claims for the reasons just given.
that Title VII analysis does not apply to Title IX); see also
Students for Fair Admissions v. Harvard Coll., 2023 WL             All told, the challengers lack a “clear showing” that they
4239254, at *59–60 (U.S. June 29, 2023) (Gorsuch, J.,              will succeed on the merits,       Mazurek, 520 U.S. at 972
concurring) (explaining that Title VI differs from the             (emphasis omitted), and that is particularly so in view of
Equal Protection Clause).                                          the burdensome nature of a facial attack and the fraught
                                                                   task of justifying statewide relief.
Smith v. City of Salem does not move the needle either.
    378 F.3d 566 (6th Cir. 2004). It was an employment
case, it involved an adult, and it concerned “sex
stereotyping,” not whether someone’s body is male or
                                                                                               III.
female.      Id. at 574–75. In that setting, it held that a
transgender employee fired for dressing as a woman                 The other stay factors largely favor the State as well. If
established a cognizable equal protection claim. See               the injunction remains in place during the appeal,
    id. at 573, 577 (resting the holding on “[t]he facts           Tennessee will suffer irreparable harm from its inability
Smith has alleged”). It did not hold that every claim of           to enforce the will of its legislature, to further the
transgender discrimination requires heightened scrutiny,           public-health considerations undergirding the law, and to
least of all in the fraught context of whether a State may         avoid irreversible health risks to its children. As for harm
limit irreversible medical treatments to minors facing             to others, the Act’s continuing care exception permits the
gender dysphoria. And Dobbs prevents us from extending             challengers to continue their existing treatments until
Smith that far, as it held that medical treatments that affect     March 31, 2024. That feature of the law lessens the harm
                                                                   to those minors who wish to continue receiving treatment.
only one sex receive rational-basis review.      Dobbs, 142
                                                                   But we appreciate that it does not answer the concerns of
S. Ct. at 2245–46; see       Geduldig, 417 U.S. at 496 n.20.       those who might wish to continue treatment after that date
                                                                   or to those minors who might seek treatment for the first
*8 We recognize that other courts and judges have taken            time in the future. That creates an irreversible problem of
different approaches to these issues. See, e.g.,      Grimm        its own, one that lies at the crux of the case. Both sides
v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 608 (4th Cir.          have the same fear, just in opposite directions—one
2020) (differential treatment of transgender person                saying the procedures create health risks that cannot be
triggers intermediate scrutiny);             id. at 627–28         undone, the other saying the absence of such procedures
(Niemeyer, J., dissenting); Brandt ex rel. Brandt v.               creates risks that cannot be undone. What makes it
Rutledge, 47 F.4th 661, 670 (8th Cir. 2022) (ban on                bearable to choose between the two sides is the realization
gender-transition procedures constituted sex-based                 that not every choice is for judges to make. In this
discrimination); Brandt ex rel. Brandt v. Rutledge, 2022           instance, elected representatives made these precise
WL 16957734, at *1 & n.1 (8th Cir. Nov. 16, 2022)                  cost-benefit decisions and did not trigger any reasons for
                                                                   skeptical review in doing so. As for the public interest,
(Stras, J., dissental);    Adams ex rel. Kasper v. Sch. Bd.        Tennessee’s interests in applying the law to its residents
of St. Johns Cnty., 57 F.4th 791, 801, 803 n.5 (11th Cir.          and in being permitted to protect its children from health
2022) (sex-based bathroom policy did not violate equal             risks weigh heavily in favor of the State at this juncture.
protection);     id. at 823 (Wilson, J., dissenting).
                                                                                               ***
We recognize, too, that several district courts have

                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                         7
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



These initial views, we must acknowledge, are just that:
initial. We may be wrong. It may be that the one week we                   birth could not. See          Tenn. Code Ann. §
have had to resolve this motion does not suffice to see our                68-33-103(a)(1).
own mistakes. In an effort to mitigate any potential harm
from that possibility, we will expedite the appeal of the
preliminary injunction, with the goal of resolving it no           2
later than September 30, 2023. In the interim, the district                See Brandt, 47 F.4th at 669;          Doe 1 v.
court’s preliminary injunction is stayed.                                  Thornbury, No. 3:23-CV-230-DJH, 2023 WL
                                                                           4230481, at *3 (W.D. Ky. June 28, 2023); Brandt
                                                                           v. Rutledge, No. 4:21CV00450 JM, 2023 WL
                                                                           4073727, at *31 (E.D. Ark. June 20, 2023); K.C.
                                                                           v. Individual Members of Med. Licensing Bd. of
                                                                           Indiana, No. 123CV00595JPHKMB, 2023 WL
                                                                           4054086, at *7 (S.D. Ind. June 16, 2023);    Doe
    CONCURRING IN PART AND DISSENTING IN                                   v. Ladapo, No. 4:23CV114-RH-MAF, 2023 WL
                   PART                                                    3833848, at *8 (N.D. Fla. June 6, 2023); see also
                                                                           Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131,
                                                                           1146 (M.D. Ala. 2022).

WHITE, Circuit Judge, concurring in part and dissenting
in part.                                                           In the Title VII context, the Supreme Court has made
                                                                   clear that sex discrimination occurs when an “employer
*9 Because I believe that Tennessee’s law is likely
                                                                   intentionally penalizes a person identified as male at birth
unconstitutional based on Plaintiffs’ theory of sex
                                                                   for traits or actions that it tolerates in an employee
discrimination, I would not stay the district court’s
injunction, although I would narrow its scope. I do not            identified as female at birth.”        Bostock v. Clayton
find it necessary to address Plaintiffs’ alternative theories      County, 140 S. Ct. 1731, 1741 (2020). That principle is
of constitutional injury at this time.                             directly on point here and highly persuasive. Cf.     Smith
                                                                   v. City of Salem, 378 F.3d 566, 577 (6th Cir. 2004)
Tennessee’s law likely discriminates against Plaintiffs on         (finding transgender plaintiff raised Title VII claim based
the basis of sex in violation of the Equal Protection              on sex-stereotyping and concluding that the facts
Clause, thus triggering intermediate scrutiny. Although            supporting the Title VII claim “easily constitute[d] a
the state argues that the act “appl[ies] equally to males          claim of sex discrimination grounded in the Equal
and females,” Appellant’s Br. 8-9, the law discriminates           Protection Clause”); Boxill v. O’Grady, 935 F.3d 510, 520
based on sex because “medical procedures that are                  (6th Cir. 2019) (“We review § 1983 discrimination claims
permitted for a minor of one sex are prohibited for a              brought under the Equal Protection Clause using the same
minor of another sex,” Brandt v. Rutledge, 47 F.4th 661,           test applied under Title VII.”).
669 (8th Cir. 2022). To illustrate, under the law, a person
identified male at birth could receive testosterone therapy        “Like racial classifications, sex-based discrimination is
to conform to a male identity, but a person identified             presumptively invalid.”        Vitolo v. Guzman, 999 F.3d
female at birth could not.1 See       Tenn. Code Ann. §            353, 364 (6th Cir. 2021). “Government policies that
68-33-103(a)(1). Indeed, until today, every federal court          discriminate based on sex cannot stand unless the
addressing similar laws reached the same conclusion as             government provides an ‘exceedingly persuasive
Brandt.2                                                           justification,’ ” id. (quoting     United States v. Virginia,
1
       Defendants raise in their reply brief the argument          518 U.S. 515, 531 (1996)), which requires showing that
       that “[b]oth sexes use the same puberty blockers,           the “classification serves ‘important governmental
       so prohibiting them for gender dysphoria does not           objectives,’ and ... is ‘substantially and directly related’ to
       even consider sex.” Reply Br. 3. But this does not          the government’s objectives,” id. (quoting        Miss. Univ.
       solve the problem. Under Tennessee’s law,                   for Women v. Hogan, 458 U.S. 718, 724 (1982)).
       someone identified male at birth could take                 Applying this standard, I fail to see how the state can
       puberty blockers consistent with a treatment plan           justify denying access to hormone therapies for treatment
       that contemplates development consistent with a             of minor Plaintiffs’ gender dysphoria while permitting
       male identity, but someone identified female at             access to others, especially in light of the district court’s

                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                            8
L. W. by and through Williams v. Skrmetti, --- F.4th ---- (2023)



robust factual findings on the benefits of these treatments        Lastly, I reiterate the majority’s caveat that today’s
for transgender youth.                                             decision is preliminary only.

*10 However, I agree that the district court abused its            I CONCUR in part and DISSENT in part.
discretion in granting a statewide preliminary injunction.
As the majority observes, “District courts ‘should not
issue relief that extends further than necessary to remedy         All Citations
the plaintiff’s injury.’ ” Maj. Op. at 5 (quoting
Commonwealth v. Biden, 57 F.4th 545, 556 (6th Cir.                 --- F.4th ----, 2023 WL 4410576
2023)). I would uphold the stay as it applies to Plaintiffs
and also Vanderbilt University Medical Center.

End of Document                                                    © 2023 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               9
